                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

MARGARET CZERWIENSKI,                 )
LILIA KILBURN and AMULYA              )
MANDAVA,                              )
                                      )
               Plaintiffs,            )
v.                                    )               CIVIL ACTION NO. 22-10202-JGD
                                      )
HARVARD UNIVERSITY and the            )
PRESIDENT AND FELLOWS OF              )
HARVARD COLLEGE,                      )
                                      )
               Defendants.            )

                                      SCHEDULING ORDER

       This matter is before the court on “Plaintiffs’ Assented-To Motion To Set Deadlines for

Amended Complaint and Motion Practice” (Docket No. 33). The Motion is ALLOWED and the

court hereby enters the following scheduling order:

       1.      Plaintiffs shall file an Amended Complaint by June 21, 2022. The filing of the

Amended Complaint shall moot “Defendants’ Motion to Dismiss Counts One Through Nine of

Plaintiffs’ Complaint” (Docket No. 19) without prejudice to the filing of a dispositive motion

relating to the Amended Complaint.

       2.      Defendants shall file a motion to dismiss the Amended Complaint by July 12,

2022. The plaintiffs shall file any opposition to the motion to dismiss by July 26, 2022. Unless

the parties otherwise agree, and the court so orders, the defendants may file a reply brief in

support of their motion to dismiss by August 9, 2022.

       3.      Plaintiffs shall file their opposition to “Harvard’s Motion for Partial Summary

Judgment as to Count Ten” (Docket No. 24) by July 15, 2022. Unless the parties otherwise
agree, and the court so orders, the defendants may file a reply brief in support of the motion

for partial summary judgment by July 29, 2022.

   4. Any concise statement of material facts that is filed pursuant to Local Rule 56.1 in

opposition to a motion for summary judgment shall include numbered paragraphs admitting or

denying, paragraph by paragraph, the facts contained in the moving party’s concise statement

of material facts.

                                                       / s / Judith Gail Dein
                                                       Judith Gail Dein
   Dated: June 8, 2022                                 United States Magistrate Judge




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